       Case 14-26250                Doc 49         Filed 06/19/19 Entered 06/19/19 23:28:26                           Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Michael John Breslin                                           Social Security number or ITIN   xxx−xx−6086

                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

Debtor 2              Doreen Lynn Breslin                                            Social Security number or ITIN   xxx−xx−6318
(Spouse, if filing)
                      First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Northern District of Illinois

Case number: 14−26250




Order of Discharge                                                                                                                  12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Michael John Breslin                                         Doreen Lynn Breslin
                                                                            fka Doreen Lynn Neumann

               If the trustee has filed and served a notice pursuant to Bankruptcy Rule 3002.1(f), and no statement is timely filed by
               the mortgagee in response, the mortgage addressed by the notice is deemed to be fully current as of the date of the
               notice.


               June 17, 2019                                                For the court:          Jeffrey P. Allsteadt, Clerk
                                                                                                    United States Bankruptcy Court



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                    liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                    In a case involving community property: Special rules
attempt to collect a discharged debt from the                                protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                            spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                  case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                            Some debts are not discharged
debtors by mail, phone, or otherwise in any                                  Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                       ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                       ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                 ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                           U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                      523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                       the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                           For more information, see page 2




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    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




Form 3180W                               Chapter 13 Discharge                              page 2
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 14-26250-JBS
Michael John Breslin                                                                    Chapter 13
Doreen Lynn Breslin
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: arodarte               Page 1 of 2                   Date Rcvd: Jun 17, 2019
                               Form ID: 3180W               Total Noticed: 40


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 19, 2019.
db/jdb         +Michael John Breslin,    Doreen Lynn Breslin,   2832 South Eagle Terrace,
                 Inverness, FL 34450-7479
22662455       +Bank of America, N.A.,    Green Tree Servicing LLC,    7340 S. Kyrene Rd.,   Recovery Dept - T120,
                 Tempe, AZ 85283-4573
22170009       +Capital One Auto Finance,    1680 Capital One Drive,    Mc Lean, VA 22102-3407
22170014       +Department of Education,    FedLoan Servicing,   PO Box 530210,    Atlanta, GA 30353-0210
22170015       +Equifax Information Services, LLC,    1550 Peachtree Street NW,    Atlanta, GA 30309-2468
22170016       +Experian Information Solutions, Inc.,    475 Anton Boulevard,    Costa Mesa, CA 92626-7037
22170017       +FedLoan Servicing,    Po Box 69184,   Harrisburg, PA 17106-9184
22170018       +FedLoan Servicing,    PO Box 60610,   Harrisburg, PA 17106-0610
22170019       +Freedman Anselmo Lindberg,    1771 W. Diehl, Suite 150,    PO Box 3228,
                 Naperville, IL 60566-3228
22170020       +GE Capital,   3 Capital Drive,    Eden Prairie, MN 55344-3890
22438841        Greentree Servicing, LLC,    c/o Manley Deas Kochalski LLC,    P.O. Box 165028,
                 Columbus, OH 43216-5028
22170025       +Rock, Fusco, Reynolds and Gar,    350 N. LaSalle, Suite 900,    Chicago, IL 60654-5136
22170027       +Trans Union LLC,   1561 E. Orangethorpe Avenue,     Fullerton, CA 92831-5210

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +E-mail/Text: bncnotice@tomvaughntrustee.com Jun 18 2019 02:06:30         Tom Vaughn,
                 55 E. Monroe Street, Suite 3850,    Chicago, IL 60603-5764
22170005       +EDI: MERRICKBANK.COM Jun 18 2019 05:43:00        Advanta Bank Corp,    Po Box 31032,
                 Tampa, FL 33631-3032
22256727        EDI: MERRICKBANK.COM Jun 18 2019 05:43:00        Advanta Bank Corporation,
                 Resurgent Capital Services,    PO Box 10368,     Greenville, SC 29603-0368
22170006       +EDI: MERRICKBANK.COM Jun 18 2019 05:43:00        Advanta Credit Cards,    PO Box 9217,
                 Old Bethpage, NY 11804-9017
22170007       +E-mail/Text: ACF-EBN@acf-inc.com Jun 18 2019 02:04:13        Atlantic Credit & Finance Inc.,
                 2727 Franklin Road SW,    Roanoke, VA 24014-1011
22170012        EDI: CITICORP.COM Jun 18 2019 05:43:00       Citicorp Credit Services *,
                 ATTN: Internal Recovery; Centralized Bk,     P.O. Box 20507,     Kansas City, MO 64195
22170008       +EDI: CAPONEAUTO.COM Jun 18 2019 05:43:00       Capital One Auto Finance,     3905 N Dallas Parkway,
                 Plano, TX 75093-7892
22202057       +EDI: AIS.COM Jun 18 2019 05:43:00       Capital One Auto Finance c/o AIS,
                 Portfolio Services, LP f/k/a AIS Data,     Services d/b/a/ Ascension Capital Group,
                 4515 N Santa Fe Ave. Dept. APS,    Oklahoma City, OK 73118-7901
22958639       +EDI: AISACG.COM Jun 18 2019 05:43:00       Capital One Auto Finance, a division of Capital On,
                 P.O. Box 201347,    Arlington, TX 76006-1347
22450506        EDI: CAPITALONE.COM Jun 18 2019 05:43:00       Capital One, (USA) N.A.,
                 by American InfoSource LP as agent,     PO Box 71083,    Charlotte, NC 28272-1083
22170010       +EDI: AIS.COM Jun 18 2019 05:43:00       Capital One, N.A. *,    c/o American Infosource,
                 P.O Box 54529,    Oklahoma City, OK 73154-1529
22170011       +EDI: CAPITALONE.COM Jun 18 2019 05:43:00       Capital One, N.A.*,     1680 Capital One Drive,
                 Mc Lean, VA 22102-3407
22655775       +EDI: CITICORP.COM Jun 18 2019 05:43:00       Citibank, N.A.,    701 East 60th Street North,
                 Sioux Falls, SD 57104-0493
22170013       +EDI: RCSFNBMARIN.COM Jun 18 2019 05:43:00        Credit One Bank,    Po Box 98873,
                 Las Vegas, NV 89193-8873
22170021       +EDI: RMSC.COM Jun 18 2019 05:43:00       GE Capital Retail Consumer Finance,     1600 Summer Street,
                 Fifth Floor,    Stamford, CT 06905-5125
22170022       +EDI: RMSC.COM Jun 18 2019 05:43:00       GE Money Bank Care Card,     Po Box 960061,
                 Orlando, FL 32896-0061
22170023        EDI: RMSC.COM Jun 18 2019 05:43:00       Green Tree Servicing,     332 Minnesota Street, Suite 610,
                 Saint Paul, MN 55101
22723565        E-mail/Text: bankruptcy.bnc@ditech.com Jun 18 2019 02:04:47         Green Tree Servicing, LLC,
                 PO Box 6154,    Rapid City, SD 57709-6154
22170024        E-mail/Text: bankruptcy.bnc@ditech.com Jun 18 2019 02:04:47         GreenTree Servicing, LLC,
                 345 St. Peter Street,    Saint Paul, MN 55102
22711914        EDI: RESURGENT.COM Jun 18 2019 05:43:00       LVNV Funding, LLC its successors and assigns as,
                 assignee of FNBM, LLC,    Resurgent Capital Services,     PO Box 10587,
                 Greenville, SC 29603-0587
22646625        EDI: PRA.COM Jun 18 2019 05:43:00       Portfolio Recovery Associates, LLC,
                 Successor to CITIBANK, N.A. (SEARS GOLD,     POB 41067,    Norfolk, VA 23541
22656418        EDI: PRA.COM Jun 18 2019 05:43:00       Portfolio Recovery Associates, LLC,
                 successor to SYNCHRONY BANK,    (PROGROUP ABT),     PO Box 41067,    Norfolk, VA 23541
22729319        EDI: PRA.COM Jun 18 2019 05:43:00       Portfolio Recovery Associates, LLC,
                 successor to SYNCHRONY BANK (LENSCRAFTER,     POB 41067,    Norfolk VA 23541
24896977        EDI: Q3G.COM Jun 18 2019 05:43:00       Quantum3 Group LLC as agent for,     MOMA Funding LLC,
                 PO Box 788,    Kirkland, WA 98083-0788
26640463        E-mail/Text: bkdepartment@rtresolutions.com Jun 18 2019 02:05:55
                 Real Time Resolutions, Inc.,    1349 Empire Central Drive, Suite #150,
                 Dallas, Texas 75247-4029
22170026        EDI: SEARS.COM Jun 18 2019 05:43:00       Sears,    133200 Smith Road,    Cleveland, OH 44130
          Case 14-26250            Doc 49       Filed 06/19/19 Entered 06/19/19 23:28:26                         Desc Imaged
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District/off: 0752-1                  User: arodarte                     Page 2 of 2                          Date Rcvd: Jun 17, 2019
                                      Form ID: 3180W                     Total Noticed: 40


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
22507528        EDI: ECAST.COM Jun 18 2019 05:43:00     eCAST Settlement Corporation, assignee,
                 of Citibank (South Dakota), N.A.,   POB 29262,   New York, NY 10087-9262
                                                                                            TOTAL: 27

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
22703124*         FedLoan Servicing,   P.O. Box 69184,   Harrisburg, PA 17106-9184
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 17, 2019 at the address(es) listed below:
              Joseph S Davidson    on behalf of Debtor 1 Michael John Breslin jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Joseph S Davidson    on behalf of Debtor 2 Doreen Lynn Breslin jdavidson@sulaimanlaw.com,
               courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaimanlaw.com;sulaiman.igotnotices@g
               mail.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com;cjohnson@sulaimanlaw.com
              Kathryn A Klein    on behalf of Creditor    BANK OF AMERICA, N.A. iln@riezmanberger.com
              Keith Levy    on behalf of Creditor    GreenTree Servicing LLC amps@manleydeas.com
              Nathan C Volheim    on behalf of Debtor 2 Doreen Lynn Breslin nvolheim@sulaimanlaw.com,
               sulaiman.igotnotices@gmail.com;courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaima
               nlaw.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com
              Nathan C Volheim    on behalf of Debtor 1 Michael John Breslin nvolheim@sulaimanlaw.com,
               sulaiman.igotnotices@gmail.com;courtinfo@sulaimanlaw.com;bkycourtinfo@gmail.com;ecfnotice@sulaima
               nlaw.com;bkecf_sulaiman@bkexpress.info;r46351@notify.bestcase.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Sarah E Barngrover    on behalf of Creditor    GreenTree Servicing LLC amps@manleydeas.com
              Tom Vaughn    ecf@tvch13.net, ecfchi@gmail.com
                                                                                              TOTAL: 9
